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                             Attachment D
  Case 2:20-cv-13134-LVP-RSW ECF No. 161-5, PageID.6071 Filed 07/26/21 Page 2 of 6
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                                                                    Mesquite District seat became vacant when its previous
                                                                    occupant resigned to run for Mayor of Peoria. Doc. 27 at
      KeyCite Yellow Flag - Negative Treatment                      3. There are three candidates—Plaintiff Krieger, Defendant
Distinguished by Coltharp v. Herrera, C.D.Cal., December 10, 2014
                                                                    Toma, and Defendant Binsbacher. Toma is currently serving
                  2014 WL 4187500
                                                                    as the Mesquite District's interim council member. Id. at 4.
    Only the Westlaw citation is currently available.
       United States District Court, D. Arizona.
                                                                    The Mesquite District primary election is scheduled to be held
                                                                    on August 26, 2014, in conjunction with state and federal
        Ken KRIEGER, et al., Plaintiffs,                            elections. Early voting has already commenced. If a candidate
                     v.                                             receives at least “50% plus one” of the votes in the primary, he
      PEORIA, CITY OF, et al., Defendants.                          or she will immediately take office. Id. If not, a run-off would
                                                                    occur in November, with the winner taking office shortly
                 No. CV–14–01762–PHX–DGC.                           thereafter. Id. There is no dispute that all three candidates
                               |                                    properly qualified for the ballot.
                      Signed Aug. 22, 2014.
                                                                    Early voting ballots were mailed to registered voters in
                                                                    the Mesquite District on July 31, 2014 (the “First ballot”).
                                                                    Doc. 12 at 2. The following day, it was discovered that
TEMPORARY RESTRAINING ORDER
                                                                    Krieger's name had been omitted from the ballot. Id. In
DAVID G. CAMPBELL, District Judge.                                  an effort to correct the error, Defendants Purcell, Osborne,
                                                                    and Geriminsky decided to send replacement ballots, which
 *1 Plaintiffs have filed a motion for a temporary restraining      were mailed on August 5, 2014 (the “Second ballot”). Id.
order (“TRO”) and a preliminary injunction. Doc. 12.                Surprisingly, Krieger's name was omitted again. The parties
Defendants have filed a joint response (Doc. 27) and Plaintiffs     agree that the vendor responsible for printing the ballots—not
have replied (Doc. 32). The Court heard oral argument on            Defendants—is responsible for these errors.
August 22, 2014. For the reasons that follow, the Court will
grant the motion and enter a TRO.                                   The Peoria City Council held an emergency meeting on
                                                                    August 7, 2014, to find a solution. Id. at 3. The Council
                                                                    decided by a 3–2 vote, with Toma abstaining, that a new
I. Background.
                                                                    ballot would be mailed to all registered voters in the Mesquite
Plaintiffs are Dr. Ken Krieger and “Dr. Ken Krieger for
                                                                    District (the “Third ballot”), that remote voting stations would
Peoria City Council,” a political committee. There are
                                                                    be set up to accept Third ballots or allow voters to cast Third
several defendants: the City of Peoria; Peoria Mayor Bob
                                                                    ballots, and that votes cast for the Mesquite District race
Barrett, in his official capacity; Peoria City Council members
                                                                    on the First or Second ballots would be counted unless the
Tony Rivero, Carlo Leone, Ron Aames, Jon Edwards, Ben
                                                                    voter also submitted a Third ballot. Id. The Third ballots were
Toma, and Bill Patena, in their official capacities; Peoria
                                                                    mailed to registered voters on August 9, 2014, along with this
City Clerk Rhonda Geriminsky, in her official capacity;
                                                                    notice:
Maricopa County; Maricopa County Supervisors Denny
Barney, Steve Chucri, Andy Kunasek, Clint Hickman, and                 *2 The enclosed replacement ballot includes a list of all
Marie Lopez, in their official capacities; Clerk of the               candidates for the City of Peoria Special Primary Election
Maricopa County Board of Supervisors Fran McCarroll,                  for the Mesquite District Council seat only. If you have
in her official capacity; Maricopa County Recorder Helen              previously received a ballot, you may use that ballot to
Purcell, in her official capacity; Maricopa County Elections          vote for all offices except the Mesquite District Council
Director Karen Osborne, in her official capacity; the Election        seat. Please use the enclosed ballot to vote for the Mesquite
and Tally Boards for the Mesquite District in the City of             District council seat. If you have already voted in the
Peoria; the State of Arizona; Ben Toma, in his individual             Mesquite District Council Election and do not return this
capacity; and Bridget Binsbacher.                                     ballot, your prior vote will be counted. If you have not
                                                                      already voted an early ballot, you may vote a full ballot
This case concerns an election for a seat on the Peoria               (State, County, and City items) at your designated polling
City Council representing Peoria's Mesquite District. The             place on Election Day. Replacement Voting Centers will be


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  open through August 26th to vote only for the Mesquite
  District Council seat.                                               *3 [W]e believe that both candidates and voters may
Doc. 27–2 at 8.                                                       challenge on its face on equal protection grounds a
                                                                      candidacy restriction because of its impact on voting rights.
Defendants state that if voters return either the First or Second     A candidate for public office, such as the appellee, is so
ballots, the last one received will be counted. Doc. 27 at 5.         closely related to and dependent upon those who wish to
If a voter returns a Third ballot by mail, casts a Third ballot       vote for him and his litigation will so vitally affect their
at a remote voting location, or casts a full ballot at the polls      rights that courts will relax the rule of practice (which
on Election Day, that vote will be counted for the Mesquite           is designed to assure vibrant representation of the vital
District election rather than any vote indicated on a previously      interests of non-parties) and will permit a candidate to raise
received ballot. Id.                                                  the constitutional rights of voters.
                                                                    Mancuso v. Taft, 476 F.2d 197, 190 (1st Cir.1973); see also
Following the Council's decision, Plaintiffs filed this action      Bullock v. Carter, 405 U.S. 134, 92 S.Ct. 849, 31 L.Ed.2d 92
asserting claims under 42 U.S.C. § 1983 for denial of equal         (1972).
protection and due process under the Fourteenth Amendment
to the United States Constitution, and denial of freedom to         Plaintiffs have shown a sufficient injury in fact on behalf
associate under the First Amendment. They also assert claims        of Plaintiff Krieger and voters whose constitutional rights
for violation of Arizona's early voting and ballot preparation      Plaintiffs may raise in this case.
statutes and violation of Peoria's ballot preparation law. Doc.
15. Plaintiffs ask the Court to enjoin the Mesquite District
                                                                    IV. TRO Requirements.
primary election and order that a special election be held.
                                                                    An injunction may be granted only where the movant shows
                                                                    that “he is likely to succeed on the merits, that he is likely to
II. Standing.                                                       suffer irreparable harm in the absence of preliminary relief,
To establish standing, a plaintiff generally must show three        that the balance of equities tips in his favor, and that an
elements: (1) the plaintiff has suffered an “injury in fact,” (2)   injunction is in the public interest.” Winter v. Natural Res.
a causal connection exists between the injury and the conduct       Def. Council, Inc., 555 U.S. 7, 20, 129 S.Ct. 365, 172 L.Ed.2d
complained of, and (3) there is a likelihood the injury will        249 (2008); see also Am. Trucking Ass'n, Inc. v. City of Los
be redressed by a favorable decision. Lujan v. Defenders of         Angeles, 559 F.3d 1046, 1052 (9th Cir.2009). A request for a
Wildlife, 504 U.S. 555, 560, 112 S.Ct. 2130, 119 L.Ed.2d 351        TRO is governed by the same general standards that govern
(1992). Defendants dispute only the first element, arguing that     the issuance of a preliminary injunction. See New Motor
Plaintiffs have not suffered injury in fact. The Court disagrees.   Vehicle Bd. v. Orrin W. Fox. Co., 434 U.S. 1345, 1347 n. 2,
There can be little doubt that Plaintiff Krieger, a candidate,      98 S.Ct. 359, 54 L.Ed.2d 439 (1977).
will be injured by an election process in which a meaningful
number of votes are cast on ballots that do not include his
                                                                       A. Likelihood of Success on the Merits.
name.
                                                                    Plaintiffs assert several different constitutional violations in
                                                                    their § 1983 claims: violation of procedural and substantive
Plaintiff Krieger also asserts his rights as a voter and the
                                                                    due process, denial of equal protection, and violation of the
associated rights of other voters in the Mesquite District. The
                                                                    First Amendment right of association as expressed through
Supreme Court has held that “[a] citizen's right to a vote free
                                                                    the voting process. Courts have applied several different tests
of arbitrary impairment by state action has been judicially
                                                                    to constitutional claims arising out of elections. During the
recognized as a right secured by the Constitution,” Baker v.
                                                                    hearing in this case, both sides agreed that the “fundamental
Carr, 369 U.S. 186, 207–08, 82 S.Ct. 691, 7 L.Ed.2d 663
                                                                    unfairness” test applied by the Ninth Circuit in Bennett v.
(1962); see also Gray v. Sanders, 372 U.S. 368, 375, 83 S.Ct.
                                                                    Yoshina, 140 F.3d 1218 (9th Cir.1998), is most relevant.
801, 9 L.Ed.2d 821 (1963), and a loss of a constitutional right
constitutes actual injury. In addition, Courts have recognized
                                                                    Bennett held that “an election is a denial of substantive due
the standing of candidates to bring an action on behalf of
                                                                    process if it is conducted in a manner that is fundamentally
affected voters:
                                                                    unfair.” Id. at 1226. The Ninth Circuit explained, however,
                                                                    that there is a distinction “between ‘garden variety’ election



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irregularities and a pervasive error that undermines the             Id. at 1077.
integrity of the vote.” Id. “In general, garden variety election
irregularities do not violate the Due Process Clause, even if        During the hearing in this case, the Court asked the
they control the outcome of the vote or election.” Id. To trigger    parties to identify the dividing line between garden variety
a constitutional violation, the irregularities must “transcend       irregularities and those that raise serious constitutional
garden variety problems.” Id.                                        violations. Defendants asserted that a finding of intentional
                                                                     discrimination or other wrongful intent is needed before
Bennett cited several cases that illustrate garden variety           election problems violate constitutional rights. Plaintiffs
irregularities. Id. These include human error in miscounting         argued that wrongful intent is not required and that
votes, delays in the arrival of voting machines, technical           fundamental unfairness is sufficient. The Court agrees
deficiencies in printing ballots, and malfunctioning voting          with Plaintiffs. As noted in the above quotation from
machines. The cited cases hold that such common                      Griffin, broad-gauged fundamental unfairness violates the
irregularities should be resolved through state-law remedies         constitution even it results from “apparently neutral action”
and do not amount to a violation of constitutionally protected       on the part of state or local officials. Id. This certainly was true
rights. The cases rightly recognize that federal courts should       in Griffin, where the unconstitutional action was a decision by
be reluctant to intervene in state election procedures.              the Rhode Island Supreme Court. Bennett likewise contains
                                                                     no suggestion that wrongful intent is required before a
 *4 To illustrate election problems that warrant federal             constitutional violation can be found.
intervention, the Ninth Circuit relied on Griffin v. Burns, 570
F.2d 1065 (1st Cir.1978).1 Absentee and shut-in voters in            After discussing two cases in which federal courts rightly
Griffin were allowed to use mail-in ballots, as in this case,        intervened in local elections, Griffin provides this helpful
to vote in a primary election for a city council seat. After         guidance on the dividing line:
the election, the Rhode Island Supreme Court found “no
                                                                       While there is no single bright line to distinguish [the
constitutional or statutory basis for allowing absentee and
                                                                       two cases] from the cases ... in which federal courts have
shut-in voters to cast their votes in a primary election,” and
                                                                       declined to intervene, it is apparent that in both cases the
invalidated the ballots. Id. at 1068. Disenfranchised voters
                                                                       attack was, broadly, upon the fairness of the official terms
sued in federal court, arguing that their constitutional rights
                                                                       and procedures under which the election was conducted.
had been violated.
                                                                       The federal courts were not asked to count and validate
                                                                       ballots and enter into the details of the administration
1        The Ninth Circuit also relied on Roe v. Alabama, 43 F.3d      of the election. Rather they were confronted with an
         574 (11th Cir.1995), a case consistent with Griffin.          officially-sponsored election procedure which, in its basic
The First Circuit applied the “fundamental unfairness”                 aspect, was flawed. Due process, representing a profound
analysis adopted by the Ninth Circuit in Bennett and accepted          attitude of fairness between ... individual and government,
by the parties in this case. Several observations in Griffin are       is implicated in such a situation.
relevant.                                                            *5 Id. at 1078 (emphasis added; citations and quotation
                                                                     marks omitted).
The First Circuit began by confirming that “the plaintiffs' right
to vote in this primary as in other elections is protected under     Applying this requirement of broad, fundamental unfairness,
the Constitution.” Id. at 1074. Griffin recognized that federal      which was adopted by the Ninth Circuit in Bennett, the Court
courts should not intervene in common election irregularities,       concludes that Plaintiffs have shown a likelihood of success
but that some cases do require the protection of federal rights:     on the merits of their constitutional claims. Plaintiffs do not
                                                                     base their claim on the two misprinted ballots that were
    The right to vote remains, at bottom, a federally protected      mailed to voters. Those errors were unintended irregularities.
    right. If the election process itself reaches the point of       Plaintiffs instead complain about the official action taken
    patent and fundamental unfairness, a violation of the due        by Defendants to remedy those errors, actions that, although
    process clause may be indicated and relief under § 1983          clearly undertaken in good faith, produced fundamental
    therefore in order.... [T]here is precedent for federal relief   unfairness.
    where broad-gauged unfairness permeates an election,
    even if derived from apparently neutral action.


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Defendants decided that votes cast on either the First or            District council seat will have been made with ballots that
Second ballots would be counted, despite the fact that both          omit Plaintiff Krieger's name.
ballots omit Krieger's name. Under that decision, some
portion of the voters will make choices in the primary election       *6 This procedure, like the procedure struck down in Griffin,
with only the names of Krieger's two opponents before them.          reflects “broadly upon the fairness of the official terms and
Unfortunately, this prospect is not eliminated by the remedial       procedures under which the election [is] conducted.” Griffin,
measures Defendants adopted.                                         570 F.2d at 1078. It is “an officially-sponsored election
                                                                     procedure which, in its basic aspect, [is] flawed.” Id. To use
The instruction included with the Third ballot and quoted            the Ninth Circuit's words, it includes “a pervasive error that
earlier in this order is, at best, confusing. It tells voters that   undermines the integrity of the vote.” Bennett, 140 F.3d at
they are to use the Third ballot for their votes for the Mesquite    1226.
District council seat, but does not say why. It says nothing
about the error in the earlier ballots voters have received. The     Because the Court finds an election based in part on
notice then tells voters that their votes on the First and Second    incomplete ballots that omit a candidate's name to be
ballots will be counted, contradicting the statement that the        fundamentally unfair, the Court concludes that it likely
Third ballot must be used.                                           violates Plaintiffs' rights under the Due Process Clause of the
                                                                     Fourteenth Amendment. Plaintiffs are likely to succeed on the
Voters who have already mailed in the First or Second ballots        merits of this claim.
may not even bother to open or read the third mailing. Others
may read it, see that their earlier mail-in vote will be counted,    The Court wishes to emphasize that it finds absolutely no
and not bother to examine the Third ballot to see how it differs     wrongdoing on the part of Defendants. They have acted in
from the first two. Nor could they compare the new ballot to         good faith to remedy a problem not of their making. But the
the earlier versions which they have already mailed. What's          Court also finds that the selected remedy is fundamentally
more, the Third ballot was mailed and the election will be           flawed.
held in August which is prime vacation time in the desert, and
some voters who mailed in earlier ballots therefore may not
even see the third mailing before the election. The Court finds         B. Likelihood of Irreparable Harm.
each of these scenarios plausible, even likely for at least some     Plaintiffs are likely to succeed in showing irreparable harm.
of the voters. In every one of them, voters will cast their votes    Plaintiffs do not assert their right to win the election; they
on the basis of an incomplete list of candidates and Plaintiff       assert their right to a fair election and the voters' right to
Krieger will lose his right to be considered for their votes.        cast an accurate and valid vote. The loss of these rights
                                                                     satisfies the irreparable harm requirement. See Elrod v. Burns,
This fundamental unfairness is more than isolated. Statistics        427 U.S. 347, 373, 96 S.Ct. 2673, 49 L.Ed.2d 547 (1976)
provided by Defendants show that half of the registered voters       (election case noting that the loss of constitutional rights
in the Mesquite District receive early ballots by mail. Of           “for even minimal periods of time, unquestionably constitutes
the votes cast in the 2012 election, 86% were cast by mail-          irreparable injury”); Fla. Democratic Party v. Hood, 342
in ballots, 14% at polling places. Doc. 27 at 17. Thus, the          F.Supp.2d 1073 (N.D.Fla.2004) (“A person who is denied the
defective ballots in this case were mailed to approximately          right to vote suffers irreparable injury.”).
one-half of the voters, and the vast majority of the votes in
this election are likely to come from mail-in ballots. Although
                                                                        C. Balance of Equities and Public Interest.
Defendants have taken steps to provide voters with a correct
                                                                     The last two requirements for a TRO are also satisfied.
ballot, it was not mailed out until August 9, and defense
                                                                     The balance of equities tips in favor of Plaintiffs, who are
counsel acknowledged during the hearing that Defendants
                                                                     likely to suffer a serious violation of their constitutional
began receiving completed mail-in ballots on August 1. Thus,
                                                                     rights, not in favor of Defendants, who seek to implement an
it is a certainty that some votes have been cast using the
                                                                     election procedure that is fundamentally unfair. Similarly, an
defective ballots. Because Defendants have decided to count
                                                                     injunction of the unfair election is in the public interest, which
votes cast on the First and Second ballots, it appears likely
                                                                     is not served by an election based in part on defective ballots.
that some significant percentage of the votes for the Mesquite




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                                                                   1. Defendants shall not count votes cast in the Mesquite
V. Temporary Restraining Order.
                                                                   District primary election for the Peoria City Council, whether
Plaintiffs ask the Court to enjoin Defendants from counting
                                                                   cast by mail-in ballot or at any polling place, in connection
votes cast for the Mesquite District council seat in the ongoing
                                                                   with the August 26, 2014 primary election, nor shall they
primary election and to order a special election. The Court has
                                                                   announce any result related to the Mesquite District primary
considered whether lesser measures would solve the problem
                                                                   election for the Peoria City Council.
in this case, but has found none that is viable. One possible
solution would be to order Defendants not to count votes
                                                                   2. Defendants shall instead hold a special election for
on the First and Second ballots, but such an order would
                                                                   the Mesquite District primary election for the Peoria City
effectively disenfranchise voters who relied on the statement
                                                                   Council. Defendants shall, within ten days of this order and
in the third mailing that their votes on those ballots would
                                                                   after conferring with Plaintiffs and Candidates Toma and
be counted. It is entirely possible that some voters read the
                                                                   Binsbacher, advise the Court concerning the details of the
third mailing with care, understood the problem in the first
                                                                   special election.
two ballots, and chose not to send in the Third ballot or vote
at a polling place because they wanted to cast their vote for
Toma or Binsbacher and relied on the assurance that such           3. The parties shall, by 3:00 p.m. on August 29, 2014, jointly
                                                                   file a statement advising the Court of any further proceedings
a vote on the First and Second ballots would be counted.
                                                                   they believe to be necessary in this case.
Invalidating their votes is not a fair solution. In the absence
of any other reasonable alternative, the Court concludes that
                                                                   4. No bond shall be required of Plaintiffs for entry of this
Plaintiffs' requested relief should be granted.
                                                                   TRO.
*7 IT IS ORDERED:
                                                                   All Citations

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